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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, w rite the debtor's name an d the case number (if
know n). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is av ailable.


1.   Debtor's name                Dynata, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Survey Sampling International, LLC
     names, trade names and
     doing business as names


3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  4 Research Dr., Suite 300
                                  Shelton, CT 06484
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfield                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's w ebsite (URL)      https://www.dynata.com/


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       Partnership (excluding LLP)
                                       Other. Specify:




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                                       Case 24-11057-TMH                 Doc 1         Filed 05/22/24             Page 2 of 34
Debtor    Dynata, LLC                                                                                 Case number (if known)
          Name


7.   Describe debtor's business A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b -2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4 -digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5419

8.   Under w hich chapter of the        Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
     A debtor who is a “small                Chapter 9
     business debtor” must check             Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.                                                     debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. Fi le the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b -2.
                                             Chapter 12

9.   Were prior bankruptcy            No.
     cases filed by or against
     the debtor w ithin the last 8 Yes.
     years?
     If more than 2 cases, attach a
     separate list.                       District                                        When                                 Case number
                                          District                                        When                                 Case number

10. Are any bankruptcy cases                No
    pending or being filed by a             Yes.
    business partner or an
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Schedule 1                                               Relationship


                                                   District                               When                             Case number, if known



 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                Case 24-11057-TMH                      Doc 1       Filed 05/22/24            Page 3 of 34
Debtor   Dynata, LLC                                                                             Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediatel y
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor ow n or      No
    hav e possession of any
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs       Yes.
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No


                                            Yes.        Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrativ e information

13. Debtor's estimation of             Check one:
    av ailable funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                         X 1,000-5,000                                  25,001-50,000
    creditors                       50-99                                            5001-10,000                                50,001-100,000
    (on a consolidated basis)       100-199                                          10,001-25,000                              More than 100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)       $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
    (on a consolidated basis)        $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Dynata, LLC                                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representativ e of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       5/22/2024
                                                  MM / DD / YYYY


                             X      /s/ Steven Macri                                                     Steven Macri
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X     /s/ Edmon L. Morton                                                    Date    5/22/2024
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Edm on L. Morton
                                 Printed name

                                 Young Conaw ay Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilm ington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      em orton@ycst.com

                                 3856 DE
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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                                             Schedule 1

                     Pending Bankruptcy Cases Filed by Affiliated Entities

       On the date hereof, each of the related entities listed below (collectively, the “Debtors”),

including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court

for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States

Code, 11 U.S.C. §§ 101–1532. Contemporaneously with the filing of their voluntary petitions, the

Debtors filed a motion requesting that the Court jointly administer their chapter 11 cases for

administrative purposes only.

                                                         Federal Employer Identification
                          Entity Name
                                                                 Number (EIN)
        Dynata, LLC                                    XX-XXXXXXX
        New Insight Holdings, Inc.                     XX-XXXXXXX
        New Insight Intermediate Holdings, Inc.        XX-XXXXXXX
        Dynata Holdings Corp.                          XX-XXXXXXX
        Research Now Group, LLC                        XX-XXXXXXX
        SSI/Opiniology Interco LLC                     XX-XXXXXXX
        iPinion, Inc.                                  XX-XXXXXXX
        Research Now, Inc.                             XX-XXXXXXX
        SSI Holdings, LLC                              XX-XXXXXXX
        New Insight International, Inc.                XX-XXXXXXX
        Imperium LLC                                   XX-XXXXXXX
        inBrain, LLC                                   XX-XXXXXXX
        Apps That Pay, LLC                             XX-XXXXXXX
        inBrain Holdings, LLC                          XX-XXXXXXX
        Branded Research, Inc.                         XX-XXXXXXX
        ScreenLift.io, LLC                             N/A
        Research Now DE I, LLC                         XX-XXXXXXX
        Research Now DE II, LLC                        XX-XXXXXXX
        Instantly, Inc.                                XX-XXXXXXX
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    DYNATA, LLC, et al.,1                                     Case No. 24-_____ ( )

                                Debtors.                      (Joint Administration Requested)


                           CONSOLIDATED LIST OF CREDITORS
                       HOLDING THE 30 LARGEST UNSECURED CLAIMS

         Set forth below is the list of creditors that hold, based upon information presently available
and belief, the thirty (30) largest unsecured claims (the “Top 30 List”) against Dynata, LLC and
its affiliated debtors and debtors in possession (collectively, the “Debtors”). This list has been
prepared based upon the books and records of the Debtors. The Top 30 List was prepared in
accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the
Debtors’ chapter 11 cases. The Top 30 List does not include: (1) persons who come within the
definition of an “insider” as set forth in 11 U.S.C. § 101(31); or (2) secured creditors, including
those creditors with a right to setoff under applicable law, unless the value of the collateral (or
amount entitled to be offset) is such that the unsecured deficiency places the creditor among the
holders of the thirty (30) largest unsecured claims. The information presented in the Top 30 List
shall not constitute an admission by, nor is it binding on, the Debtors. The information presented
herein, including, without limitation, (a) the failure of the Debtors to list any claim as contingent,
unliquidated, disputed, or subject to a setoff; or (b) the listing of any claim as unsecured neither
constitutes an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor constitutes a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.

                                           [List appears on next page]




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their federal tax identification numbers,
     to the extent applicable, are Dynata, LLC (8807), New Insight Holdings, Inc. (1844), New Insight Intermediate
     Holdings, Inc. (6495), Dynata Holdings Corp. (0668), Research Now Group, LLC (7588), SSI/Opiniology Interco
     LLC (1855), iPinion, Inc. (9463), Research Now, Inc. (5523), SSI Holdings, LLC (6379), New Insight
     International, Inc. (0453), Imperium LLC (8375), inBrain, LLC (8031), Apps That Pay, LLC (9028), inBrain
     Holdings, LLC (9696), Branded Research, Inc. (9577), Screenlift.io, LLC, Research Now DE I, LLC (5528),
     Research Now DE II, LLC (5613), and Instantly, Inc. (6756). The Debtors’ headquarters is located at 4 Research
     Drive, Suite 300, Shelton, CT 06484.
                                                     Case 24-11057-TMH                                   Doc 1      Filed 05/22/24                   Page 7 of 34



      Fill in this information to identify the case:
      Debtor name: Dynata, LLC
      United States Bankruptcy Court for the District of Delaware
                                                                                                                                                 Check if this is an
      Case number (If known): ___________
                                                                                                                                                  amended filing


      Official Form 204

      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders


      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
      claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting
      from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                                   Amount of unsecured claim
                                                                                                                                                   If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                   amount. If claim is partially secured, fill in total claim amount
                                                                                                                                                   and deduction for value of collateral or setoff to calculate
                                                                                                                                 Indicate if claim
                                                                                                                                                   unsecured claim.
     Name of creditor and complete mailing address,            Name, telephone number, and email                                  is contingent,
                                                                                                           Nature of the claim
                   including zip code                             address of creditor contact                                    unliquidated, or
                                                                                                                                     disputed
                                                                                                                                                   Total claim, if Deduction for Unsecured claim
                                                                                                                                                   partially           value of
                                                                                                                                                   secured             collateral or
                                                                                                                                                                       setoff


      Cint USA Inc                                         Attn: Giles Palmer
      205 E 42nd St                                        Title: Chief Executive Officer
 1                                                                                                            Trade Payable                                                                             $1,562,429.49
      19th Floor                                           Phone: (504) 264-5820
      New York, NY 10017 United States                     Email: giles.palmer@cint.com




      Prime Insights Group LLC
                                                           Attn: Benjamin Ritzka
      8 The Green
 2                                                         Title: Chief Executive Officer                     Trade Payable                                                                              $782,637.41
      Ste R
                                                           Email: b.ritzka@rika-netmarketing.com
      Dover, DE 19902 United States




                                                           Attn: Adam Selipsky
   Amazon Web Services
                                                           Title: Chief Executive Officer
 3 410 Terry Avenue North                                                                                     Trade Payable                                                                              $779,350.30
                                                           Phone: (800) 522-6645
   Seattle, WA 98109-5210 United States
                                                           Email: aselipsky@amazon.com




                                                           Attn: Christoph Maiwald
   Make Opinion GmbH
                                                           Title: Chief Executive Officer
 4 Fredersdorfer Str 11 10243                                                                                 Trade Payable                                                                              $770,501.40
                                                           Phone: 49 30 629370810
   Berlin, Germany
                                                           Email: cmaiwald@makeopinion.com




      BitBurst GmbH                                        Attn: Jan Asbach
      Lerchenweg 3                                         Title: Chief Executive Officer & Co-founder
 5                                                                                                            Trade Payable                                                                              $738,871.99
      40789                                                Phone: 49 1526 0000000
      Monheim am Rhein, Germany                            Email: jan.asbach@bitburst.net




      Innovate MR, LLC                                     Attn: Lisa Wilding-Brown
      23679 Calabasas Road                                 Title: Chief Executive Officer
 6                                                                                                            Trade Payable                                                                              $409,057.13
      #1038                                                Phone: (888) 229-6664
      Calabasas, CA 91302 United States                    Email: lisa@innovatemr.com




      DISQO, Inc.                                          Attn: Armen Adjemian
      400 N Brand Blvd                                     Title: Chief Executive Officer & Co-founder
 7                                                                                                            Trade Payable                                                                              $366,845.65
      6th Fl                                               Phone: (818) 287-7633
      Glendale, CA 91203 United States                     Email: armen@disqo.com




Official Form 204                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                               Page 1
                                                  Case 24-11057-TMH                                 Doc 1      Filed 05/22/24                   Page 8 of 34
Debtor Dynata, LLC                                                                                                                                     Case number (if known)_____________________________________




                                                                                                                                              Amount of unsecured claim
                                                                                                                                              If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                              amount. If claim is partially secured, fill in total claim amount
                                                                                                                                              and deduction for value of collateral or setoff to calculate
                                                                                                                            Indicate if claim
                                                                                                                                              unsecured claim.
      Name of creditor and complete mailing address,       Name, telephone number, and email                                 is contingent,
                                                                                                      Nature of the claim
                    including zip code                        address of creditor contact                                   unliquidated, or
                                                                                                                                disputed
                                                                                                                                              Total claim, if Deduction for Unsecured claim
                                                                                                                                              partially           value of
                                                                                                                                              secured             collateral or
                                                                                                                                                                  setoff


                                                       Attn: Thai Lee
    SHI International Corp
                                                       Title: President and CEO
  8 290 Davidson Ave.                                                                                    Trade Payable                                                                              $335,254.29
                                                       Phone: (888) 764-8888
    Somerset, NJ 08873 United States
                                                       Email: thai_lee@gs.shi.com




    Salesforce.com
                                                       Attn: Marc Benioff
    Salesforce Tower
                                                       Title: CEO
  9 415 Mission Street                                                                                   Trade Payable                                                                              $310,638.75
                                                       Phone: (800) 664-9073
    3rd Floor
                                                       Email: marcb@salesforce.com
    San Francisco, CA 94105 United States




       Borderless Access Panels                        Attn: Ruchika Gupta
       1455 NW Leary Way                               Title: CEO/Founder
 10                                                                                                      Trade Payable                                                                              $290,016.52
       Suite 400                                       Phone: +91 80 4931 3800
       Seattle, WA 98107 United States                 Email: ruchika.gupta@borderlessaccess.com




                                                       Attn: Christopher J. Nassetta
    Hilton Honors
                                                       Title: President & Chief Executive Officer
 11 7930 Jones Branch Drive                                                                              Trade Payable                                                                              $272,457.62
                                                       Phone: (888) 446-6677
    McLean, VA 22102 United States
                                                       Email: chris.nassetta@hilton.com




       WebMD                                           Attn: Robert N. Brisco
       395 Hudson Street                               Title: Chief Executive Officer
 12                                                                                                      Trade Payable                                                                              $269,574.00
       Third Floor                                     Phone: (212) 624-3700
       New York, NY 10014 United States                Email: bob.brisco@internetbrands.com




       WorldOne, Inc.                                  Attn: Peter Kirk
       200 Park Avenue South                           Title: Chief Executive Officer
 13                                                                                                      Trade Payable                                                                              $263,437.00
       Ste 1310                                        Phone: (866) 910-6279
       New York, NY 10003 United States                Email: peter.kirk@sermo.com




                                                       Attn: Reed Cundiff
    SS Holdings Group, LLC
                                                       Title: Chief Executive Officer
 14 101 Wood Avenue South                                                                                Trade Payable                                                                              $239,742.12
                                                       Phone: (732) 906-1122
    Iselin, NJ 08830 United States
                                                       Email: reed.cundiff@schlesingergroup.com




       Leadgency Performance B.V.                      Attn: Kimberley Van Der Helm
       Koperweg 11J                                    Title: Global Account Director
 15                                                                                                      Trade Payable                                                                              $216,409.58
       2401 LH                                         Phone: 31 (0)88 323 2015
       Alphen aan den Rijn, Netherlands                Email: kimberley@leadgency.com




                                                       Attn: Quentin Naylor
    Language Connect LLP
                                                       Title: Chief Executive Officer
 16 115 Broadway                                                                                         Trade Payable                                                                              $208,431.60
                                                       Phone: +44 20 7940 8100
    New York, NY 10006 United States
                                                       Email: qnaylor@languageconnect.net




Official Form 204                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              Page 2
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Debtor Dynata, LLC                                                                                                                                     Case number (if known)_____________________________________




                                                                                                                                             Amount of unsecured claim
                                                                                                                                             If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                             amount. If claim is partially secured, fill in total claim amount
                                                                                                                                             and deduction for value of collateral or setoff to calculate
                                                                                                                           Indicate if claim
                                                                                                                                             unsecured claim.
      Name of creditor and complete mailing address,       Name, telephone number, and email                                is contingent,
                                                                                                     Nature of the claim
                    including zip code                        address of creditor contact                                  unliquidated, or
                                                                                                                               disputed
                                                                                                                                             Total claim, if Deduction for Unsecured claim
                                                                                                                                             partially           value of
                                                                                                                                             secured             collateral or
                                                                                                                                                                 setoff


       Arroyo Media                                    Attn: Brendan Cronin
       530 S Lake St                                   Title: COO
 17                                                                                                      Trade Payable                                                                             $179,972.50
       #250                                            Phone: (213) 632-9885
       Pasadena, CA 91101 United States                Email: brendan@arroyomedia.com




       Unimrkt Response Inc                            Attn: Kanishk Sheel
       98 Cuttermill Road                              Title: Co-Founder & Managing Director
 18                                                                                                      Trade Payable                                                                             $176,177.50
       Suite 466                                       Phone: (646) 712-9302
       Great Neck, NY 11021 United States              Email: kanishk.sheel@unimrkt.com




       Arbela Technologies Corporation                 Attn: Charlotte McCormick
       6100 W. Plano Parkway                           Title: President
 19                                                                                                      Trade Payable                                                                             $174,280.00
       Suite 1800                                      Phone: (404) 596-5383
       Plano, TX 75093 United States                   Email: charlotte.mccormick@argano.com




                                                       Attn: Matt McEvoy
    MaxBounty ULC
                                                       Title: Chief Executive Officer
 20 PO Box 17039                                                                                         Trade Payable                                                                             $173,406.00
                                                       Phone: (613) 834-3955
    Ottawa, K4A 4W8 Canada
                                                       Email: mattm@maxbounty.com




       Conclave Market Research Pvt. Ltd.
                                                       Attn: Mayank Pandey
       C Block Sahaj Avenue
 21                                                    Title: Executive Vice President                   Trade Payable                                                                             $169,173.70
       Ahmedabad
                                                       Phone: 91 8826254440
       Gujarat, 380051 India




       Paradigm Sample, LLC                            Attn: Cyrus Deyhimi
       921 Port Washington Blvd                        Title: CEO
 22                                                                                                      Trade Payable                                                                             $160,117.09
       Suite 11                                        Phone: (877) 277-8009
       Port Washington, NY 11050 United States         Email: cyrus@paradigmsample.com




       dataSpring Inc                                  Attn: Kathy Johnson
       3506 W. Montague Avenue                         Title: Vice President
 23                                                                                                      Trade Payable                                                                             $158,136.40
       Suite 101                                       Phone: (843) 824-0908
       N Charleston, SC 29418 United States            Email: kjohnson@dataspringinc.com




       Prodege, LLC                                    Attn: Josef Gorowitz
       2030 E Maple Avenue                             Title: Founder & President
 24                                                                                                      Trade Payable                                                                             $156,383.22
       Suite 200                                       Phone: (310) 294-9599
       El Segundo, CA 90245 United States              Email: josef.gorowitz@prodege.com




                                                       Attn: James Harrison
    Clear Link Technologies
                                                       Title: President
 25 42 Future Way                                                                                        Trade Payable                                                                             $145,014.53
                                                       Phone: (877) 698-0218
    Draper, UT 84020 United States
                                                       Email: james@clearlink.com




Official Form 204                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                             Page 3
                                                  Case 24-11057-TMH                               Doc 1        Filed 05/22/24                 Page 10 of 34
Debtor Dynata, LLC                                                                                                                                     Case number (if known)_____________________________________




                                                                                                                                             Amount of unsecured claim
                                                                                                                                             If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                             amount. If claim is partially secured, fill in total claim amount
                                                                                                                                             and deduction for value of collateral or setoff to calculate
                                                                                                                           Indicate if claim
                                                                                                                                             unsecured claim.
      Name of creditor and complete mailing address,       Name, telephone number, and email                                is contingent,
                                                                                                     Nature of the claim
                    including zip code                        address of creditor contact                                  unliquidated, or
                                                                                                                               disputed
                                                                                                                                             Total claim, if Deduction for Unsecured claim
                                                                                                                                             partially           value of
                                                                                                                                             secured             collateral or
                                                                                                                                                                 setoff



    Elicit Research and Insights Inc                   Attn: Sumit Gupta
 26 140 Broadway                                       Title: Co-Founder and Director                     Trade Payable                                                                            $131,448.22
    New York, NY 10005 United States                   Email: sumit@elicitresearch.com




       Quest Global Research Group Inc                 Attn: Greg Matheson
       125 Lakeshore Road East                         Title: Managing Partner
 27                                                                                                       Trade Payable                                                                            $118,506.43
       #305                                            Phone: (416) 860-0404
       Oakville, ON L6J 1H3 Canada                     Email: gmatheson@questmindshare.com




       M3 USA Corporation                              Attn: Aki Tomaru
       501 Office Center Drive                         Title: Chief Executive Officer
 28                                                                                                       Trade Payable                                                                            $114,911.00
       Suite 410                                       Phone: (202) 293-2288
       Fort Washington, PA 19034 United States         Email: atomaru@usa.m3.com




                                                       Attn: Ahmad Al-Amine
    TechGenies LLC
                                                       Title: CEO & Co-Founder
 29 2100 N Greenville Ave                                                                                 Trade Payable                                                                            $106,172.49
                                                       Phone: (855) 643-6437
    Richardson, TX 75082 United States
                                                       Email: aalamine@techgenies.com




    Shiftsmart Inc.
                                                       Attn: Aakash Kumar
    C/O: Michelman & Robinson, LLP                                                                                             Contingent
                                                       Title: Founder & Chief Executive Officer
 30 Attn: Ashley N. Moore, Matthew E. Yarbrough                                                             Litigation        Unliquidated                                                        Undetermined
                                                       Phone: (817) 271-3604
    300 Crescent Court, Suite 1700                                                                                             Disputed
                                                       Email: aakash@shiftsmart.com
    Dallas, TX 75229 United States




Official Form 204                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                             Page 4
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                     OMNIBUS WRITTEN CONSENT
     OF THE BOARD OF DIRECTORS OF EACH COMPANY SET FORTH ON
  SCHEDULE I, SCHEDULE II, SCHEDULE III, SCHEDULE IV, AND SCHEDULE V
                               HERETO


                                           May 19, 2024

                The undersigned, being (i) all of the members of the board of directors (in such
capacity, the “Schedule I Directors”) of the entity listed on Schedule I hereto (the “Schedule I
Entity”), (ii) all of the members of the board of directors (in such capacity, the “Schedule II
Directors”) of each entity listed on Schedule II hereto (collectively, the “Schedule II Entities”),
(iii) the sole member of the board of directors (in such capacity, the “Schedule III Director”) of
the entity listed on Schedule III hereto (the “Schedule III Entity”), (iv) the sole member of the
board of directors (in such capacity, the “Schedule IV Director”) of the entity listed on Schedule
IV hereto (the “Schedule IV Entity”), and (v) all of the members of the board of directors (in such
capacity, the “Schedule V Directors”) of the entity listed on Schedule V hereto (the “Schedule V
Entity”), respectively, hereby consent, pursuant to the respective charters, bylaws, limited liability
company agreements, or equivalent organizational documents of each of the Schedule I Entity, the
Schedule II Entities, the Schedule III Entity, the Schedule IV Entity, and the Schedule V Entity
and the relevant state-specific statutes, rules, and regulations applicable to each of the Schedule I
Entity, the Schedule II Entities, the Schedule III Entity, the Schedule IV Entity, the Schedule V
Entity, and the UK Subsidiary LLCs (as hereinafter defined) to the taking of the following actions
and the adoption of the following resolutions without a meeting and agree that such actions and
resolutions shall have the same force and effect as though taken and adopted at a meeting duly
called and legally held.

                WHEREAS, one of the Schedule II Entities, Dynata Holdings Corp., a Delaware
corporation (“Dynata Corp”), is the sole member of SSI/Opinionology Interco LLC, a Delaware
limited liability company (“Interco”), and Interco is, in turn, the sole member of SSI Holdings,
LLC, a Delaware limited liability company (“SSI Holdings” and together with Interco, each, a
“DCorp Subsidiary LLC” and jointly, the “DCorp Subsidiary LLCs”);

                 WHEREAS, one of the Schedule II Entities, Dynata, LLC, a Delaware limited
liability company (“DLLC”), is the sole member of each of inBrain Holdings, LLC, a Georgia
limited liability company (“inBrain Holdings”), and Imperium, LLC, a Connecticut limited
liability company (“Imperium”), and inBrain Holdings is, in turn, the sole member of each of
inBrain, LLC, a Georgia limited liability company (“inBrain”), Apps That Pay, LLC, a Georgia
limited liability company (“Apps”), and ScreenLift.io, LLC, a Georgia limited liability company
(“ScreenLift” and together with inBrain Holdings, Imperium, inBrain and Apps, each, a “DLLC
Subsidiary LLC” and collectively, the “DLLC Subsidiary LLCs”);

              WHEREAS, the Schedule V Entity is the sole member of each of Research Now
DE I, LLC, a Delaware limited liability company (“Research Now I”), and Research Now DE II,
LLC, a Delaware limited liability company (“Research Now II” and together with Research Now
I, each, a “UK Subsidiary LLC” and, collectively, the “UK Subsidiary LLCs”; and the UK
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Subsidiary LLCs together with the Schedule I Entity, the Schedule II Entities, the Schedule III
Entity, the Schedule IV Entity, the DCorp Subsidiary LLCs and the DLLC Subsidiary LLCs, each,
a “Company” and, collectively, the “Companies”);

                 WHEREAS, (i) the Schedule I Directors, acting on behalf of the Schedule I Entity,
(ii) the Schedule II Directors, acting, as applicable, on behalf of (A) the Schedule II Entities, (B)
DCorp (1) in DCorp’s capacity as the sole member of Interco and (2) in DCorp’s capacity as the
sole member of Interco, acting on behalf of Interco in Interco’s capacity as the sole member of
SSI Holdings, and (C) DLLC (1) in DLLC’s capacity as the sole member of each of inBrain
Holdings and Imperium and (2) in DLLC’s capacity as the sole member of inBrain Holdings,
acting on behalf of inBrain Holdings, in inBrain Holdings’ capacity as the sole member of each of
inBrain, Apps, and ScreenLift, (iii) the Schedule III Director, acting on behalf of the Schedule III
Entity, (iv) the Schedule IV Director, acting on behalf of the Schedule IV Entity, (v) the Schedule
V Directors, acting on behalf of the Schedule V Entity in the Schedule V Entity’s capacity as the
sole member of each of the UK Subsidiary LLCs, have reviewed and considered the financial and
operational condition of each Company and each Company’s business on the date hereof,
including the historical performance of each Company, the assets of each Company, the current
and long-term liabilities of each Company, the market for each Company’s assets, credit market
conditions, and macroeconomic conditions impacting each Company;

                WHEREAS, (i) the Schedule I Directors, acting on behalf of the Schedule I Entity,
(ii) the Schedule II Directors, acting, as applicable, on behalf of (A) the Schedule II Entities, (B)
DCorp (1) in DCorp’s capacity as the sole member of Interco and (2) in DCorp’s capacity as the
sole member of Interco, acting on behalf of Interco in Interco’s capacity as the sole member of
SSI Holdings, and (C) DLLC (1) in DLLC’s capacity as the sole member of each of inBrain
Holdings and Imperium and (2) in DLLC’s capacity as the sole member of inBrain Holdings,
acting on behalf of inBrain Holdings in inBrain Holdings’ capacity as the sole member of each of
inBrain, Apps, and ScreenLift, (iii) the Schedule III Director, acting on behalf of the Schedule III
Entity, (iv) the Schedule IV Director, acting on behalf of the Schedule IV Entity, and (v) the
Schedule V Directors, acting on behalf of the Schedule V Entity in the Schedule V Entity’s
capacity as the sole member of each of the UK Subsidiary LLCs, have received, reviewed, and
considered (i) the DIP Credit Agreement (as defined below), (ii) the RSA (as defined below), and
(iii) the recommendations of the senior management of the Companies and the Companies’ legal
and financial advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy
Code”);

                WHEREAS, (i) the Schedule I Directors, acting on behalf of the Schedule I Entity,
(ii) the Schedule II Directors, acting, as applicable, on behalf of (A) the Schedule II Entities, (B)
DCorp (1) in DCorp’s capacity as the sole member of Interco and (2) in DCorp’s capacity as the
sole member of Interco, acting on behalf of Interco in Interco’s capacity as the sole member of
SSI Holdings, and (C) DLLC (1) in DLLC’s capacity as the sole member of each of inBrain
Holdings and Imperium and (2) in DLLC’s capacity as the sole member of inBrain Holdings,
acting on behalf of inBrain Holdings in inBrain Holdings’ capacity as the sole member of each of
inBrain, Apps, and ScreenLift, (iii) the Schedule III Director, acting on behalf of the Schedule III
Entity, (iv) the Schedule IV Director, acting on behalf of the Schedule IV Entity, and (v) the



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Schedule V Directors, acting on behalf of the Schedule V Entity in the Schedule V Entity’s
capacity as the sole member of each of the UK Subsidiary LLCs, have determined that it is in the
best interests of each Company and each Company’s stakeholders, creditors, and other interested
parties to commence a case under the Bankruptcy Code; and

                WHEREAS, (i) the Schedule II Directors, acting, as applicable, on behalf of (A)
Research Now Group, LLC, a Delaware limited liability company (“RNG”), (B) DCorp (1) in
DCorp’s capacity as the sole member of Interco, (2) in DCorp’s capacity as the sole member of
Interco, acting on behalf of Interco in Interco’s capacity as the sole member of SSI Holdings, and
(3) in DCorp’s capacity as the sole member of Interco, acting on behalf of Interco in Interco’s
capacity as the sole member of SSI Holdings, acting on behalf of SSI Holdings, in SSI Holdings’
capacity as the sole member of DLLC, and (C) DLLC (1) in DLLC’s capacity as the sole member
of each of inBrain Holdings and Imperium and (2) in DLLC’s capacity as the sole member of
inBrain Holdings, acting on behalf of inBrain Holdings in inBrain Holdings’ capacity as the sole
member of each of inBrain, Apps, and ScreenLift and (ii) the Schedule V Directors, acting on
behalf of the Schedule V Entity in the Schedule V Entity’s capacity as the sole member of each of
the UK Subsidiary LLCs, have determined that it is in the best interests of the respective members
of each of RNG, the DCorp Subsidiary LLCs, the DLLC Subsidiary LLCs, and the UK Subsidiary
LLCs (collectively, the “LLC Debtors”) that the respective limited liability company agreements
of each of the LLC Debtors, be amended as set forth herein.

               NOW, THEREFORE, BE IT:

               Restructuring Support Agreement

                RESOLVED, that in the judgment of the Schedule I Directors, the Schedule II
Directors, the Schedule III Director, the Schedule IV Director, and the Schedule V Directors, (i)
the financial restructuring (the “Restructuring”) pursuant to the terms of the Restructuring Support
Agreement (the “RSA”) is desirable and in the best interests of each of the respective Companies
and (ii) the form, terms, and provisions of the RSA are hereby approved and adopted in all respects;
and be it further

                RESOLVED, that all actions previously taken by the respective officers, members,
managers, or other authorized persons of each Company (each, an “Authorized Person” and
collectively, the “Authorized Persons”), on behalf of each Company, with respect to the
preparation and negotiation of the RSA be, and hereby are, approved, adopted, and ratified in all
respects as the act and deed of such Company; and be it further

              RESOLVED, that each Company is hereby authorized to (i) execute and deliver
the RSA and related documents and instruments to which such Company is a party (collectively,
the “RSA Documents”), (ii) perform such Company’s obligations thereunder, and (iii) take all
actions contemplated thereby; and be it further

               RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized and directed to execute
and deliver the RSA Documents in the name and on behalf of the respective Companies, and to



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perform the obligations of the respective Companies thereunder with such changes and additions
as any such Authorized Person may, in such Authorized Person’s sole discretion, deem necessary
or advisable; such approval to be conclusively evidenced by such Authorized Person’s signature
thereon; and be it further

               RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized and directed in the name
and on behalf of the respective Companies, to negotiate, execute and deliver the RSA Documents
and such other documents as may be necessary to effectuate the transactions contemplated thereby,
in such form and with such terms and conditions, as any such Authorized Person shall, in such
Authorized Person’s sole discretion, approve, the execution and delivery by such Authorized
Person to be conclusive evidence of the approval thereof by such Authorized Person; and be it
further

               Commencement and Prosecution of the Bankruptcy Case

                RESOLVED, that, in the judgment of the Schedule I Directors, the Schedule II
Directors, the Schedule III Director, the Schedule IV Director, and the Schedule V Directors, it is
desirable and in the best interests of each Company, its creditors, stockholders, members, and other
interested parties that a voluntary petition (each, a “Petition” and collectively, the “Petitions”) be
filed by each Company in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) commencing cases (each, a “Bankruptcy Case” and collectively, the
“Bankruptcy Cases”) under the provisions of chapter 11 of the Bankruptcy Code; and be it further

                RESOLVED, that the filing of voluntary Petitions on behalf of the Companies be,
and hereby is, approved, authorized, and adopted in all respects and that each Company’s
Authorized Persons be, and each of them, acting alone or in any combination, hereby is, authorized,
empowered and directed on behalf of such Company, to execute, acknowledge, deliver, and verify
the Petitions and to cause the same to be filed with the Bankruptcy Court at such time and in such
form as the Authorized Persons may determine (which approval and authorization thereof shall be
conclusively evidenced by the filing of the Petitions with the Bankruptcy Court); and be it further

                RESOLVED, that the respective Authorized Persons of each Company, on behalf
of the respective Companies be, and each of them, acting alone or in any combination, hereby is,
authorized to (a) execute and file the Petitions, lists, motions, applications, pleadings, declarations,
and other papers that the Authorized Persons may determine necessary or proper in connection
with such chapter 11 cases, (b) execute, acknowledge, deliver, and verify any and all documents
necessary or proper in connection with the Petitions and to administer the Bankruptcy Cases in
such form or forms as the Authorized Persons may determine are necessary or proper in order to
effectuate the foregoing resolutions, (c) engage any professionals, including attorneys,
accountants, financial advisors, investment bankers, actuaries, consultants, brokers or other
experts, as the Authorized Persons determine necessary or proper to accomplish the purposes of
the resolutions, with any such determinations being conclusively evidenced by the executing,
filing, acknowledging, delivering, verifying, or engaging thereof by the Authorized Persons; and
be it further




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                RESOLVED, that the respective Authorized Persons of each Company, on behalf
of the respective Companies be, and each of them, acting alone or in any combination, hereby is,
authorized to execute and file the plan of reorganization (the “Plan”), the disclosure statement (the
“Disclosure Statement”), and any related documents such as motions, supplements, projections,
analyses, and other pleadings that the Authorized Persons may determine are necessary or proper
in connection with filing the Plan and the Disclosure Statement; and be it further

               Retention of Professionals

                RESOLVED, that the law firm of Willkie Farr & Gallagher LLP (“Willkie”),
located at 787 Seventh Avenue, New York, NY 10019, be, and hereby is, authorized, directed, and
empowered to represent each Company as general bankruptcy counsel, to represent and assist each
such Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance each such Company’s rights, including the preparation of pleadings and filings in its
Bankruptcy Case; and in connection therewith, the respective Authorized Persons of each
Company be, and each of them, acting alone or in any combination, hereby is, authorized, directed,
and empowered, on behalf of and in the name of each such respective Company, to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of its Bankruptcy Case, and to cause to be filed an appropriate application for authority to
retain the services of Willkie; and be it further

                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”), located at Rodney Square, 1000 North King Street, Wilmington, DE 19801,
shall be, and hereby is, authorized, directed, and empowered to represent each Company as
Delaware bankruptcy counsel, to represent and assist each such Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance each such Company’s
rights, including the preparation of pleadings and filings in its Bankruptcy Case; and in connection
therewith, the respective Authorized Persons of each Company be, and each of them, acting alone
or in any combination, hereby is, authorized, directed, and empowered, on behalf of and in the
name of each such respective Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of its Bankruptcy Case, and to cause
to be filed an appropriate application for authority to retain the services of Young Conaway; and
be it further

                RESOLVED, that Alvarez & Marsal North America, LLC (“Alvarez”), located at
755 W. Big Beaver Road, Suite 650, Troy, MI 48084, shall be, and hereby is, authorized, directed,
and empowered to provide to each Company restructuring advisors to represent and assist each
such Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance each such Company’s rights and obligations in connection with its Bankruptcy Case;
and in connection therewith, the respective Authorized Persons of each Company be, and each of
them, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of each such respective Company, to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately upon the filing of its
Bankruptcy Case, and to cause to be filed an appropriate motion or application for authority to
retain the services of Alvarez; and be it further




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                RESOLVED, that Houlihan Lokey, Inc. (“Houlihan”), located at 245 Park
Avenue, New York, NY 10167, shall be, and hereby is, authorized, directed, and empowered to
serve as investment banker to represent and assist each Company in connection with the potential
restructuring of each such Company’s business and in carrying out its duties under the Bankruptcy
Code and to take any and all actions to advance each such Company’s rights and obligations in
connection with its Bankruptcy Case; and in connection therewith, the respective Authorized
Persons of each Company be, and each of them, acting alone or in any combination, hereby is,
authorized, directed, and empowered, on behalf of and in the name of each such respective
Company, to execute appropriate retention agreements, pay appropriate retainers, if required, prior
to and immediately upon the filing of its Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of Houlihan; and be it further

                RESOLVED, that Kroll Restructuring Administration LLC (“Kroll” and together
with Willkie, Young Conaway, Alvarez, and Houlihan, collectively, the “Advisors”), located at 55
East 52nd Street, 17th Floor, New York, NY 10055, shall be, and hereby is, authorized, directed,
and empowered to serve as the notice, claims, solicitation, and balloting agent in connection with
the Bankruptcy Cases; and in connection therewith, the respective Authorized Persons of each
Company be, and each of them, acting alone or in any combination, hereby is, authorized, directed,
and empowered, on behalf of and in the name of each each such respective Company, to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of its Bankruptcy Case, and to cause to be filed an appropriate application for
authority to retain the services of Kroll; and be it further

                 RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized, directed, and empowered,
on behalf of and in the name of the Companies, to employ any other individual or firm as
professionals, or consultants, financial advisors, or investment bankers to each respective
Company as deemed necessary to represent and assist such Company in carrying out its duties
under the Bankruptcy Code, and in connection therewith, the respective Authorized Persons of
each Company be, and each of them, acting alone or in any combination, hereby is, authorized,
directed, and empowered, on behalf of and in the name of each such respective Company, to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
the filing of its Bankruptcy Case, and to cause to be filed an appropriate application or motion for
authority to retain the services of such individual or firm; and be it further

             RESOLVED, that the Advisors are hereby authorized to take any and all actions
necessary or desirable to advance the Companies’ rights and obligations and facilitate the
Bankruptcy Cases; and be it further

               Postpetition Financing Process

               RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized to execute, deliver and
perform, or cause to be executed, delivered and performed, as applicable from time to time, in the
name of and on behalf of the each of the respective Companies, that certain credit agreement (the
“DIP Credit Agreement” and, together with any other documents related to the debtor in possession



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financing, the “DIP Documents”), including, without limitation, any agreements, instruments,
questionnaires, papers or writings, as such Authorized Persons determine are necessary,
convenient, advisable, appropriate or desirable to effect the execution, delivery and performance
of the DIP Credit Agreement and the transactions contemplated thereunder as intended by these
resolutions, including but not limited to, any UCC financing statements and other instruments,
stock powers, bond powers, unit powers, powers of attorney, side letters, notary letters, allonges,
waivers, documents, certificates, consents, assignments, notices, affidavits, certificates of officers
(including secretary’s certificates) and other certificates, control agreements, intellectual property
grants, guarantees, pledge agreements and other pledge documents, security agreements and other
security documents, ratification agreements and agreements contemplated thereby or executed and
delivered in connection therewith, in each case, with such changes, additions, modifications, and
terms as any such Authorized Persons executing the DIP Documents shall approve, with such
Authorized Person’s execution thereof to be deemed conclusive evidence of such approval, and in
each case and in connection therewith, with all amendments, amendments and restatements,
supplements, renewals, extensions, modifications, substitutions and replacements thereof and each
other agreement now existing or hereafter created providing collateral security for payment or
performance of the obligations thereunder; and be it further

                RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized, directed and empowered,
for and on behalf of and in the name of each of the respective Companies to assign, hypothecate,
set over, grant security interests in or grant a continuing security interest in, mortgage or pledge
any or all of the assets and properties of the Companies, real, personal or mixed, tangible or
intangible, now owned or hereafter acquired, and all proceeds of the foregoing, to the
Administrative Agent (as defined in the DIP Documents) as security for the obligations under the
DIP Credit Agreement and the other DIP Documents; and be it further

                RESOLVED, that in connection with the Bankruptcy Cases, the respective
Authorized Persons of each Company shall be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, in the name and on behalf of each
of the respective Companies, as a debtor and debtor in possession, to negotiate, execute, and
deliver agreements for the use of cash collateral in connection with the Bankruptcy Cases, which
agreement(s) may require the Companies to acknowledge the debt and liens of existing loans, grant
liens, and pay interest to the Companies’ existing lender(s) on terms substantially similar to those
described or provided to the Schedule I Directors, the Schedule II Directors, the Schedule III
Director, the Schedule IV Director, and the Schedule V Directors; and in connection therewith, the
respective Authorized Persons of each Company are hereby authorized and directed to execute
appropriate agreements and related ancillary documents; and be it further

               RESOLVED, that, in connection with the Bankruptcy Cases, the respective
Authorized Persons of each Company shall be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, in the name and on behalf of each
of the respective Companies, as a debtor and debtor in possession, to (a) negotiate, execute, and
deliver agreements for postpetition financing on terms substantially similar to those described or
provided to the Schedule I Directors, the Schedule II Directors, the Schedule III Director, the
Schedule IV Director, and the Schedule V Directors; (b) pledge and grant liens on the Companies’



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assets as may be contemplated by or required under the terms of such postpetition financing; or
(c) execute, deliver, verify, and file, as applicable, or cause to be executed, delivered, verified, or
filed, and to amend, supplement, or otherwise modify from time to time, all necessary and
appropriate documents, including, without limitation, affidavits, schedules, motions, pleadings,
and other documents, agreements, and papers, postpetition financing documents, and loan
agreements (including any ancillary documents thereto) in such form as such Authorized Persons
may approve, and to take any and all actions that such Authorized Persons determine advisable,
necessary, or appropriate in connection with any postpetition financing or any cash collateral usage
contemplated hereby or thereby (such approval and the approval of the Schedule I Directors, the
Schedule II Directors, the Schedule III Director, the Schedule IV Director, and the Schedule V
Directors to be conclusively evidenced by the execution thereof or the taking of such action by
such Authorized Persons); and be it further

               Amendment of Limited Liability Company Agreements

                RESOLVED, that(i) the Schedule II Directors, acting, as applicable, on behalf of
(A) RNG, (B) DCorp (1) in DCorp’s capacity as the sole member of Interco, (2) in DCorp’s
capacity as the sole member of Interco, acting on behalf of Interco in Interco’s capacity as the sole
member of SSI Holdings, and (3) in DCorp’s capacity as the sole member of Interco, acting on
behalf of Interco in Interco’s capacity as the sole member of SSI Holdings, acting on behalf of SSI
Holdings, in SSI Holdings’ capacity as the sole member of DLLC, and (C) DLLC (1) in DLLC’s
capacity as the sole member of each of inBrain Holdings and Imperium and (2) in DLLC’s capacity
as the sole member of inBrain Holdings, acting on behalf of inBrain Holdings in inBrain Holdings’
capacity as the sole member of each of inBrain, Apps, and ScreenLift and (ii) the Schedule V
Directors, acting on behalf of the Schedule V Entity in the Schedule V Entity’s capacity as the sole
member of each of the UK Subsidiary LLCs, consent to the amendment of the limited liability
company agreement (each, an “LLC Agreement”) of each Debtor LLC, and that the LLC
Agreement of each Debtor LLC is hereby amended by adding the following provision at the end
thereof:

                       “Events of Bankruptcy. Notwithstanding any provision hereof to
       the contrary, under no circumstances shall any event of bankruptcy on the part of
       any Member, including, without limitation, any of the events listed in Section 18-
       304 of the Delaware Limited Liability Company Act (6 Del. C. § 18-101 et seq.),
       as amended from time to time, cause any Member to cease to be a member of the
       Company. In addition, notwithstanding any provision hereof to the contrary, the
       Company may put into effect and carry out any decrees and orders of a court or
       judge having jurisdiction over a proceeding pursuant to the Federal Bankruptcy
       Code, 11 U.S.C. §§ 101–1532, or any successor statute, in which proceeding an
       order for relief has been entered with respect to the Company, and may take any
       action provided or directed by such decrees and orders, in each case without a vote
       or other consent or approval by any Member.”

               and it is further




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               General Resolutions

               RESOLVED, that the respective Authorized Persons of each Company be, and
each of them, acting alone or in any combination, hereby is, authorized, directed, and empowered,
in the name and on behalf of each of the respective Companies, as a debtor and debtor in
possession, to negotiate, execute, deliver, and perform on behalf of the Companies such actions
and execute, acknowledge, deliver, and verify such agreements, certificates, instruments,
guaranties, notices, and any and all other documents, and to amend, supplement, or otherwise
modify from time to time agreements, certificates, instruments, guaranties, notices, and all other
documents, including, without limitation, affidavits, schedules, motions, pleadings, and other
documents, agreements, and papers, in such form as such Authorized Persons may approve, and
to take any and all actions that such Authorized Persons determine advisable, necessary, or
appropriate in connection with the Bankruptcy Cases or as such Authorized Persons may deem
necessary or proper to facilitate the transactions contemplated by these resolutions (such approval
and the approval of the Schedule I Directors, the Schedule II Directors, the Schedule III Director,
the Schedule IV Director, and the Schedule V Directors to be conclusively evidenced by the
execution thereof or the taking of such action by such Authorized Persons); and be it further

               RESOLVED, that all acts done or actions taken prior to the date hereof by the
respective Authorized Persons of each Company or any professionals engaged by the Companies
with respect to any transactions contemplated by the foregoing resolutions, or otherwise in
preparation for or in connection with the Bankruptcy Cases, or any proceedings related thereto, or
any matter related thereto, be and hereby are, adopted, approved, authorized, ratified, and
confirmed in all respects as the acts and deeds of the Companies; and be it further

                RESOLVED, that this consent shall be delivered to each of the Companies and
shall be filed with the minutes of proceedings of the board of directors, managers, and members,
as applicable, and the books and records of each Company; and be it further

                RESOLVED, that facsimile, photostatic copies of, or other electronic generated
signatures to this consent shall be deemed to be originals and may be relied on to the same extent
as the originals; and it is further

                RESOLVED, this this consent may be executed in multiple counterparts, all of
which, taken together, shall constitute one and the same document, and shall be effective as of the
date first written above when signed by all of the members of the boards of directors set forth
below.


                                    [Signature Page Follows]




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IN WITNESS WHEREOF, the undersigned hereunto set their names as of the date first above
written.

                                             SCHEDULE I DIRECTORS:



                                             Name: MICHAEL PETRULLO



                                             Name: DAVID EATON



                                             Name: GARY GREENFIELD



                                             Name: MICHAEL DELANEY



                                             Name: KEVIN WHITE



                                             Name: MATTHEW ROESCH



                                             Name: STEVEN LEISTNER



                                             Name: J. STEVEN YOUNG




                 [Signature Page to Dynata Omnibus Written Consent   Ch. 11 Filing]
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IN WITNESS WHEREOF, the undersigned hereunto set their names as of the date first above
written.

                                             SCHEDULE I DIRECTORS:



                                             Name: MICHAEL PETRULLO



                                             Name: DAVID EATON



                                             Name: GARY GREENFIELD



                                             Name: MICHAEL DELANEY



                                             Name: KEVIN WHITE



                                             Name: MATTHEW ROESCH



                                             Name: STEVEN LEISTNER



                                             Name: J. STEVEN YOUNG




                 [Signature Page to Dynata Omnibus Written Consent – Ch. 11 Filing]
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                                SCHEDULE II DIRECTORS:



                                Name: MICHAEL DELANEY



                                Name: KEVIN WHITE



                                Name: STEVEN LEISTNER




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                                SCHEDULE III DIRECTOR:



                                Name: KEVIN WHITE




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                                SCHEDULE IV DIRECTOR:



                                Name: STEVEN LEISTNER




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                                SCHEDULE V DIRECTORS:



                                Name: JEREMY PAUL SUMMERFIELD



                                Name: STEVEN JAMES MACRI




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                                   Schedule I

New Insight Holdings, Inc.
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                                          SCHEDULE II

New Insight Intermediate Holdings, Inc.
iPinion, Inc.
New Insight International, Inc.
Research Now, Inc.
Dynata Holdings Corp.
Research Now Group, LLC
Dynata, LLC
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                                      SCHEDULE III

Instantly, Inc.
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                                 SCHEDULE IV

Branded Research, Inc.
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                                SCHEDULE V

Dynata Global UK Limited
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                    Chapter 11

     DYNATA, LLC, et al.,1                                     Case No. 24-_____ ( )

                                 Debtors.                      (Joint Administration Requested)


                      COMBINED CORPORATE OWNERSHIP STATEMENT
                         AND LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state
as follows:

      1. The following entities own 10% or more of the outstanding equity interests in Debtor,
         New Insight Holdings, Inc.

                     Equity Holder                                                 Shares (%)

    HGGC Saber Topco LLC                                                               40.0%

    Insight Holdings (DE), LP                                                          60.0%



      2. Debtor New Insight Holdings, Inc. owns 100% of the equity interests in Debtor New
         Insight Intermediate Holdings, Inc.

      3. Debtor New Insight Intermediate Holdings, Inc. owns 100% of the equity interests in the
         following Debtors:

               a. Dynata Holdings Corp.

               b. Instantly, Inc.



1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their federal tax identification numbers,
      to the extent applicable, are Dynata, LLC (8807), New Insight Holdings, Inc. (1844), New Insight Intermediate
      Holdings, Inc. (6495), Dynata Holdings Corp. (0668), Research Now Group, LLC (7588), SSI/Opiniology Interco
      LLC (1855), iPinion, Inc. (9463), Research Now, Inc. (5523), SSI Holdings, LLC (6379), New Insight
      International, Inc. (0453), Imperium LLC (8375), inBrain, LLC (8031), Apps That Pay, LLC (9028), inBrain
      Holdings, LLC (9696), Branded Research, Inc. (9577), Screenlift.io, LLC, Research Now DE I, LLC (5528),
      Research Now DE II, LLC (5613), and Instantly, Inc. (6756). The Debtors’ headquarters is located at 4 Research
      Drive, Suite 300, Shelton, CT 06484.
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4. Debtor Dynata Holdings Corp. owns 100% of the equity interests in the following Debtors:

       a. Research Now Group, LLC

       b. SSI/Opiniology Interco LLC

5. Debtor Research Now Group, LLC owns 100% of the equity interests in the following
   Debtors:

       a. iPinion, Inc.

       b. Research Now, Inc.

6. Debtor SSI/Opiniology Interco LLC owns 100% of the equity interests in Debtor SSI
   Holdings, LLC.

7. Debtor SSI Holdings, LLC owns 100% of the equity interests in Debtor Dynata, LLC.

8. Debtor Dynata LLC owns 100% of the equity interests in the following Debtors:

       a. New Insight International, Inc.

       b. inBrain Holdings, LLC

       c. Imperium, LLC

       d. Branded Research Inc.

9. Debtor inBrain Holdings, LLC owns 100% of the equity interests in the following
   Debtors:

       a. inBrain, LLC

       b. Apps That Pay, LLC

       c. ScreenLift.io, LLC

10. Debtor New Insight International, Inc. owns 100% of the equity interests in non-Debtor e-
    Rewards Bidco Limited, which owns 100% of the equity interests in non-Debtor Dynata
    Global UK Limited, which owns 100% of the equity interests in the following Debtors:

       a. Research Now DE I, LLC

       b. Research Now DE II, LLC




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 Fill in this information to identify the case and this filing:


 Debtor Name     Dynata, LLC

 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 (State)
 Case number (If known):    24 -




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule
          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration Combined Corporate Ownership Statement and List of Equity Security Holders

        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 5/22/2024                              /s/Steven Macri
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                     Steven Macri
                                                                  Printed name

                                                                     Chief Financial Officer
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
